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U.S. District Court for the Northern District Of Illinois
Attorney Appearance Form

 

EXELON BUSINESS SERVICES

Case Title; COMPANY, LLC Case Number: 1:16-cv-611
Plaintiff,
PELCO’ STRUCTURAL, LLC

fendant.
An appearance is hereby tied by the undersigned as attorney for:

Attorney name (type or print): pracy Hannan

Firm: Exelon Corporation

Street address: 19 south Dearborn Street
49th Floor
City/State/Zip: Chicago, IL 60603

Bar ID Number: 6281834 Telephone Number: (312) 394-8994
(See item 3 in instructions)

Email Address: tracy.hannan@exeloncorp.com

Are you acting as lead counsel in this case? Yes []No
Are you acting as local counsel in this case? [ly] Yes [] No
Are you a member of the court’s trial bar? []Yes [kX] No
If this case reaches trial, will you act as the trial attorney? [xl Yes LJ No
If this is a criminal case, check your status. [] Retained Counsel

[] Appointed Counsel
If appointed counsel, are you a

[_] Federal Defender
[_] CJA Panel Attorney

 

In order to appear before this Court an attorney must either be a member in good standing of this Court's
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on January 15, 2016

Attorney signature:  S/
(Use electronic signature if the appearance form is filed electronicaily.)

 

Revised 8/1/2015
